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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO




HENRIETTA WILSON, ET AL,                     )       CASE NO. 1:16CV01298
                                             )
       Plaintiffs,                           )       JUDGE JAMES S. GWIN
                                             )
vs.                                          )       ORDER
                                             )
PRIME SOURCE HEALTHCARE OF                   )
OHIO, INC., ET AL,                           )
                                             )
       Defendants.                           )




       Upon representation of counsel that the above-captioned case has been settled between the

parties, IT IS ORDERED that the docket be marked, "settled and dismissed with prejudice.”

       Any subsequent order setting forth different terms and conditions relative to the settlement

and dismissal of the within action shall supersede the within order.

       FURTHER, the Court retains continuing jurisdiction to resolve disputes concerning the

memorialization of this settlement agreement. See Kokkonen v. Guardian Life Ins. Co., 511 U.S.

375 (1994).




Dated: November 27, 2017                             s/ James S. Gwin
                                                     JAMES S. GWIN
                                                     UNITED STATES DISTRICT JUDGE
